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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON


    ERIC L. ASPLIND                                             Case No.
                               Plaintiff,
                    v.
                                                            COMPLAINT FOR VIOLATIONS OF
    ASSET ACCEPTANCE, LLC.                                        FAIR DEBT COLLECTION
                                                                         PRACTICES ACT

                         Defendant                                             JURY REQUESTED
    _________________________________




                                            JURISDICTION

        1.      Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

§1692k(d).

        2.      This action arises out of Defendant’s violations of the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

        3.      Venue is proper in this District because the acts and transactions occurred here,

Plaintiff resides here.




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                                                 PARTIES

         4.      Plaintiff Eric L. Asplind, (hereinafter “Plaintiff”) is a natural person who resides in

the City of Bend, State of Oregon, and is a “consumer” as that term is defined by 15 U.S.C. §

1692a(3).

         5.      Defendant Asset Acceptance, LLC. (hereinafter “Defendant”) operating from an

address of 28405 Van Dyke Avenue, Warren MI 48093 is a “debt collector” as that term is defined

by 15 U.S.C. § 1692a(6).



                                     FACTUAL ALLEGATIONS

         6.      Plaintiff obtained a Bank One credit card for his personal, family or household use.

         7.      Bank One sold, assigned, or otherwise transferred the account to Defendant.

         8.      Plaintiff has not used or made a payment on the Bank One credit card in the past 10

years.

         9.      In 2006 Plaintiff received collection notices from Defendant for the debt owed

to Bank One.

         10.     In 2007 Defendant brought a claim against Plaintiff in the Deschutes County Court

for the State of Oregon. Plaintiff, by and through his attorney, contested the claim as Defendant

failed to name the original creditor, the amount borrowed, the date of the last payment, and the

interest rate on the account in its complaint.

         11.     Plaintiff believed the debt Defendant was collecting was outside the statue of

limitations and was the debt owed to Bank One.




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       12.     The case Defendant brought against Plaintiff was subsequently dismissed as

Defendant could not validate the debt it claimed Plaintiff owed.

       13.      In 2008 Defendant sent collection notices directly to Plaintiff for the Bank one

account while Plaintiff was represented by his attorney.

       14.     Plaintiff received collection calls from Defendant each month from 2008 to the

present while represented by his attorney.

       15      As a direct and proximate result of Defendant’s actions, Plaintiff has suffered

actual damages in the form of emotional distress, anger, anxiety, frustration, among other negative

emotions.

                                        TRIAL BY JURY

       16.     Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

amend. 7. Fed. R. Civ. Pro. 38.

                                     CAUSES OF ACTION

                                             COUNT I.

             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                     15 U.S.C. § 1692 et seq.

       17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

       18.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA including, but not limited to, 15 U.S.C. § 1692c(a)(2), 1692d, 1692d(5),

1692e, 1692e(2)A, 1692e(10), 1692f.

       19.     As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to actual


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damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to $1,000.00

pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15

U.S.C. § 1692k(a)(3).



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:

                                          COUNT I.

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. § 1692 et seq.

       for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;

       for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against each and every defendant;

       for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k(a)(3) against Defendant;



       DATED: October 12, 2009

                                                    /s/ Eric Olsen OSB# 783261 for
                                                    Keith D. Karnes
                                                    OSB # 03352
                                                    503-362-9393
                                                    Attorney for Plaintiff




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